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 4                           UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
 6

 7   UNITED STATES OF AMERICA,

 8          Plaintiff,                                 Case No. 2:12-CR-0175-KJD-VCF

 9   v.                                                ORDER

10   DEMARIO F. EDWARDS,

11          Defendant.

12

13          Before the Court is Defendant Demario F. Edwards’ Unopposed Motion to Withdraw Guilty

14   Plea (#113). Defendant pled guilty under the collective understanding that his Nevada state attempted

15   burglary conviction was a “crime of violence” under U.S.S.G. §4B1.2(a). However, subsequent to

16   Defendant’s plea, the Ninth Circuit decided United States v. Edwards, which indicates that

17   Defendant’s prior conviction was not a “crime of violence.” 12-10204, 2013 WL 4105532 (9th Cir.

18   Aug. 15, 2013). The Government concedes that this intervening change constitutes a “fair and just”

19   reason for withdrawal. United States v. Ortega-Ascanio, 376 F.3d 879, 883 (9th Cir. 2004). Having

20   reviewed the Motion and good cause appearing, Defendant’s Motion to Withdraw Guilty Plea (#113)

21   is HEREBY GRANTED.

22          DATED this 28th day of October 2013.

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                                                 Kent J. Dawson
26                                               United States District Judge
